                          Case
                          Case1:21-cv-02887-EGS
                               1:21-cv-02887-EGS Document
                                                 Document10
                                                          7 Filed
                                                            Filed11/03/21
                                                                  11/18/21 Page
                                                                           Page61of
                                                                                 of85

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

    Civil Action No.

                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

              This summons for (name of individual and title, if any)              Matt Rosendale for Montana
    was received by me on (date)                 11/3/2021               .

              ’ I personally served the summons on the individual at (place)
                                                                                      on (date)                            ; or

              ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                    , a person of suitable age and discretion who resides there,
              on (date)                               , and mailed a copy to the individual’s last known address; or

              ’ I served the summons on (name of individual)                                                                        , who is
               designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                            ; or

              ’ I returned the summons unexecuted because                                                                                ; or

             ’ Other (specify):
         On November 5, 2021, I sent by certified mail copies of the complaint, certificate of disclosure, summons and all
         other documents initially filed with the complaint to Matt Rosendale for Montana pursuant to FRCP 4(h)(1)(A), 4(e)(1), and DC CR. 4(c).
         The documents were received by Matt Rosendale for Montana on November 9, 2021.

              My fees are $                           for travel and $                    for services, for a total of $          0.00          .


              I declare under penalty of perjury that this information is true.


                  11/18/2021                                                 /s/
    Date:
                                                                                                  Server’s signature

                                                                             Abreya Bailey-Higgins, CLC Action Paralegal
                                                                                              Printed name and title
                                                                                     Campaign Legal Center Action
                                                                                     1101 14th St. NW, Ste. 400
                                                                                     Washington, DC 20005
                                                                                                  Server’s address

    Additional information regarding attempted service, etc:
Attached as Exhibit 1 and 2 are the following USPS documents showing proof of service of copies of the complaint,
certificate of disclosure, summons and all other initially filed documentation to Matt Rosendale for Montana: (i) certified mail receipt
# 7021-0350-0001-1593-6199 and (ii) electronic delivery confirmation for mail package # 7021-0350-0001-1593-6199.
Case 1:21-cv-02887-EGS Document 10 Filed 11/18/21 Page 2 of 5




               EXHIBIT 1
11/16/21, 11:28 AM     Case 1:21-cv-02887-EGS Document 10IMG-0757.jpg
                                                            Filed 11/18/21 Page 3 of 5




https://mail.google.com/mail/u/2/#inbox/FMfcgzGlksGvNxMWTPFgFLBfrbFdkztB?projector=1     1/1
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               EXHIBIT 2
11/15/21, 11:09 AM     Case 1:21-cv-02887-EGS Document   10- USPS
                                                 USPS.com®     Filed  11/18/21
                                                                  Tracking® Results Page 5 of 5




   USPS Tracking
                                            ®                                                           FAQs   




                                                  Track Another Package          +




                                                                                                    Remove     
   Tracking Number: 70210350000115936199

   Your item was picked up at the post office at 8:26 am on November 9, 2021 in HELENA, MT 59601.




     Delivered, Individual Picked Up at Post Office




                                                                                                               Feedback
   November 9, 2021 at 8:26 am
   HELENA, MT 59601


   Get Updates         




                                                                                                         
       Text & Email Updates


                                                                                                         
       Tracking History


       November 9, 2021, 8:26 am
       Delivered, Individual Picked Up at Post Office
       HELENA, MT 59601
       Your item was picked up at the post office at 8:26 am on November 9, 2021 in HELENA, MT 59601.



       November 8, 2021, 9:23 am
       Available for Pickup
       HELENA, MT 59604



       November 8, 2021, 8:40 am
       Arrived at Post Office
       HELENA, MT 59601

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70210350000115936199                                       1/3
